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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION


 OPTIMORPHIX, INC.,
                                                  Civil Action No. 5:23-cv-134-RWS-JBB
                Plaintiff,
           v.                                     JURY TRIAL DEMANDED
 BROADCOM INC.,

                 Defendant.


    UNOPPOSED MOTION FOR LEAVE TO FILE A FIRST AMENDED COMPLAINT

         COMES NOW, Plaintiff OptiMorphix, Inc., (“Plaintiff”), and files this Unopposed Motion

 for Leave to File a First Amended Complaint and shows the Court as follows:

        On January 26, 2024, Broadcom Inc. (“Broadcom”) filed its Motion to Dismiss (Dkt. No.

 13). Among other issues, Broadcom argued that its subsidiary, CA, Inc. (“CA”) is the proper

 Defendant (as opposed to Broadcom) in the above-captioned action in view of the allegations in

 the Complaint (Dkt. No. 1).

        After meeting and conferring, Plaintiff, Broadcom, and CA have agreed, subject to the

 Court’s approval, to substitute CA as the named Defendant in the above-captioned action.

 Pursuant to this agreement, Plaintiff has agreed to amend its Complaint and file a First Amended

 Complaint on February 23, 2024.

        Plaintiff’s First Amended Complaint will not change the patents asserted in the case nor

 the products accused of infringing each respective patent. The purpose of the amendment will be

 to substitute CA for Broadcom and to update the allegations of knowledge of the patents-in-suit

 consistent with this substitution.




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        Pursuant to Federal Rule of Civil Procedure 15(a)(2), Plaintiff has secured the written

 consent of both Broadcom and CA to file its First Amended Complaint.

        WHEREFORE, Plaintiff respectfully requests that the Court grant leave to Plaintiff to file

 its First Amended Complaint.

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  Dated: February 23, 2024                     Respectfully submitted,


                                               /s/ Daniel P. Hipskind____________________
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                                 CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that counsel for Plaintiff met and conferred with counsel

 for Broadcom Inc. and CA, Inc. and this motion is unopposed.

                                                     /s/ Daniel P. Hipskind




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